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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

DANA-FARBER CANCER INSTITUTE, INC.,

                       Plaintiff,

       - and-

PFIZER INC., WYETH LLC,
and GENETICS INSTITUTE, LLC,
                                                        Civil Action No. 1:15-cv-13443-PBS
                       Intervenors-Plaintiffs,

                       v.
ONO PHARMACEUTICAL CO., LTD.,
TASUKU HONJO, E.R. SQUIBB & SONS,
L.L.C., and BRISTOL-MYERS SQUIBB, CO.,

                                      Defendants.



                 PLAINTIFF DANA-FARBER CANCER INSTITUTE, INC.'S
                          MOTION FOR ATTORNEYS' FEES

       Dana-Farber Cancer Institute ("Dana-Farber") respectfully requests an Order finding this

case "exceptional" pursuant to 35 U.S.C. § 285 and awarding reasonable attorneys' fees. On May

12, 2019, this Court entered judgment pursuant to 35 U.S.C. § 256 in favor of Dana-Farber and

against Defendants on its claims for correction of inventorship of U.S. Patent Nos. 7,595,048;

8,168,179; 8,728,474; 9,067,999; 9,404,899 (the "Patents"), and ordered that Dr. Gordon Freeman

and Dr. Clive Wood be added as inventors on these patents. Dkt. 394.

       This case "stands out from others with respect to the substantive strength of [Dana-

Farber' s] litigating position (considering both the governing law and the facts of the case)" and

"the unreasonable manner in which the case was litigated." Octane Fitness, LLC v. ICON Health &

Fitness, Inc., 572 U.S. 545, 554 (2014). Defendants filed meritless procedural motions to prolong

resolution of this case on the merits while disregarding contemporaneous documents and their own
